                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                          3:02cr190-3-FDW


UNITED STATES OF AMERICA,                     )
                                              )
                              Plaintiff       )
                                              )
               v.                             )                  ORDER
                                              )
JOSE MARTINEZ (3),                            )
                                              )
                              Defendant       )



This MATTER is before the Court on its own motion to administratively close the case as to

JOSE MARTINEZ. The defendant appears to remain a fugitive with no activity taking place in

this case in recent times.



It is, therefore, ordered that this case be deemed closed for administrative purposes only, subject

to re-opening upon the apprehension or appearance of the defendant.

                                                  Signed: April 26, 2011




       Case 3:02-cr-00190-FDW             Document 207       Filed 04/26/11     Page 1 of 1
